                                                                      SO ORDERED.


                                                                      Dated: December 2, 2019
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 3                                                                    ______________________________________
                                                                      Madeleine C. Wanslee, Bankruptcy Judge
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 9                              UNITED STATES BANKRUPTCY COURT
10                                  FOR THE DISTRICT OF ARIZONA
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                                                  )
12   In re:                                         In Proceedings Under
                                                  )
13   Janet Christine Duryea,                      ) Chapter 7
14
                                                  ) Case No. 2:19-bk-11747-MCW
                        Debtor.                   )
15   ________________________________ )
     Bank of America, N.A.,                         ORDER ON STIPULATION FOR RELIEF
16                                                ) FROM THE AUTOMATIC STAY
                        Movant,                   )
17
                                                  )
        v.
18                                                ) Re: Real Property Located at
                                                        8534 Elkhorn Dr
19   Janet Christine Duryea, Debtor; and Lawrence )
                                                        Show Low, AZ 85901-6849
     J. Warfield, Chapter 7 Trustee,              )
20                                                )
                        Respondents.              )
21
                                                  )
22
                                                  )
23                                                )
24                                                )
25            The parties having agreed to the terms set forth in the Stipulation for Relief from the

26   Automatic Stay, attached hereto, with respect to the property generally known as 8534 Elkhorn

27   Dr, Show Low, AZ 85901-6849, and after appropriate notice and opportunity for a hearing, no

28   party in interest having objected to the Stipulation and good cause appearing,

29


                                                      1                      Case No. 2:19-bk-11747-MCW
                                                                          Order Terminating Automatic Stay
     Case 2:19-bk-11747-MCW           Doc 26 Filed 12/02/19 Entered 12/03/19 08:47:20                   Desc
                                      Main Document    Page 1 of 2
 1
                   IT IS HEREBY ORDERED that:
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            The parties shall be bound by the terms of their Stipulation, which shall be the Order of
 3
     this Court.
 4                             SIGNED AND DATED ON PAGE ONE.
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                                                    2                     Case No. 2:19-bk-11747-MCW
                                                                       Order Terminating Automatic Stay
     Case 2:19-bk-11747-MCW         Doc 26 Filed 12/02/19 Entered 12/03/19 08:47:20                 Desc
                                    Main Document    Page 2 of 2
